Case 6:15-cv-02076-SMH-PJH Document 216-1 Filed 10/19/18 Page 1 of 1 PageID #: 2447



                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

    JUSTIN CORMIER, Individually and On Behalf of          Case No. 6:15-cv-02076-PJH
    Others Similarly Situated,
                                                           Collective Action 29 U.S.C. § 216(b)

    v.                                                     Chief Judge S. Maurice Hicks, Jr.

    TURNKEY CLEANING SERVICES, LLC;                        Magistrate Judge Patrick J. Hanna
    TURNKEY CLEANING SERVICES GOM, LLC;
    DALE P. MARTIN, JR..; and SCOTTSDALE
    INSURANCE CO.



                                  ORDER APPROVING SETTLEMENT

          The Court has reviewed the parties’ Joint Motion to Approve Settlement [Rec. Doc. __] and

   their Confidential Settlement Agreement [Rec. Doc. 215], which has been filed under seal pursuant to

   the Court’s Order [Rec. Doc. 211]. The Court finds that the Confidential Settlement Agreement

   represents a fair and reasonable compromise of the Fair Labor Standards Act and other claims at issue

   in this case and approves the Confidential Settlement Agreement.

          Accordingly, IT IS HEREBY ORDERED that this case is DISMISSED WITH

   PREJUDICE. The Court will retain jurisdiction for ninety (90) days, however, to enforce all terms

   of the Confidential Settlement Agreement, if necessary. See SmallBizPros, Inc. v. MacDonald, 618 F.3d

   458, 462-63 (5th Cir. 2010).


          Signed on the ___ day of October 2018, at Shreveport, Louisiana.




                                                         _____________________________
                                                         S. MAURICE HICKS, JR., U.S.D.J.
